          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )     CRIM. NO. 1:09CR13
                                          )
                                          )
KENNETH LEE FOSTER                        )
YVONNE MARIE FOUNTAIN                     )
                                          )
                                          )
UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )     CRIM. NO. 1:09CR23
                                          )
                                          )
PERRY ROGER SHIPPY                        )
                                          )


      THESE MATTERS are before the Court on the Government’s motion

for joinder and the motions of Defendants Foster and Fountain to sever.

For the reasons stated below, the Government’s motion is allowed and the

Defendants’ motions are denied.

     On February 17, 2009, Defendants Foster and Fountain and 13 co-

defendants were charged in a two-count indictment with conspiracy to

possess with intent to distribute crack cocaine, in violation of 21 U.S.C. §§




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846 and 841(a)(1) (Count One), and knowingly using a communication

facility to further the drug conspiracy charged in Count One, in violation of

21 U.S.C. § 843(b). See Bill of Indictment (1:09CR13), filed February

17, 2009. On April 7, 2009, Defendant Shippy and nine co-defendants

were charged in a two count indictment with conspiring “with each other,

Kenneth Lee Foster, Dennis Lamar Bruton [a co-defendant in the

1:09CR13 case] and others” to possess with intent to distribute crack

cocaine and using a communication facility to further than conspiracy. See

Bill of Indictment (1:09CR23), filed April 7, 2009.

      On June 18, 2009, the Government moved to join the captioned

criminal cases for trial pursuant to Fed. R. Crim. P. 13, contending that the

offenses alleged in the respective indictments were based “‘on two or more

acts or transactions connected together or constituting parts of a common

scheme or plan.’” Government’s Motion for Joinder, filed June 18,

2009, at 5 (quoting United States v. Goldman, 750 F.2d 1221, 1224 (4th

Cir. 1984) (quoting United States v. Foutz, 540 F.2d 733, 736 (4th Cir.

1976)). Defendant Shippy did not file a response to the Government’s

motion for joinder, and did not oppose the motion prior to jury selection.




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       This matter was called for trial on July 6, 2009; the Government was

represented and all Defendants were present with counsel. Prior to jury

selection, the undersigned allowed the Government’s motion to join

Defendants for trial thus denying Defendants’ motions to sever.

       Rule 13 provides that the Court “may order that separate cases be

tried together as though brought in a single indictment . . . if all offenses

and all defendants could have been joined in a single indictment[.]” Fed. R.

Crim. P. 13. The Court has examined the captioned indictments and the

motions of the parties in favor of and opposing joinder. The conspiracy

alleged in these separate indictments could well have been brought under

a single indictment and each of the Defendants would, therefore, have

been tried together. The Court finds that joinder of the Defendants for trial

does not appear to pose a risk of prejudice to each Defendant’s right to a

fair trial.

       IT IS, THEREFORE, ORDERED that Defendant Fountain’s motion to

sever is DENIED.

       IT IS FURTHER ORDERED that Defendant Foster’s motion to sever

is DENIED.




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    IT IS FURTHER ORDERED that the Government’s motion for joinder

is GRANTED.

                                  Signed: July 10, 2009




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